                    UNITED STATES DISTRICT
                 FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA    )
                            )
v.                          )        Case No. 21-cr-00303-ABJ
                            )
DEBORAH LEE                 )
                            )
              Defendant     )




      DEFENDANT DEBORAH LEE’S MOTION FOR CHANGE OF VENUE




                                John M. Pierce
                                John Pierce Law, P.C.
                                2550 Oxnard Street
                                3rd Floor, PMB# 172
                                Woodlands, Hills, CA 91367
                                 jpierce@johnpiercelaw.com
                                (213) 279-7648

                            Attorney for Defendant




                                 1
        NOW COMES, Defendant DEBORAH LEE, by and through her counsel of

record, John M. Pierce, Esq., and respectfully request this Honorable Court, pursuant

to Fed. R. Crim. P. 21(a) for an order transferring the trial of this proceeding to another

jurisdiction.

        The Fifth and Sixth Amendment of the United States Constitution entitle

criminal defendants to a fair trial by an impartial jury. See In re Murchison, 349 U.S.

133, 136 (1955). “The theory in our system of law is that conclusions to be reached in

a case will be induced only by evidence and argument in open court, and not by any

outside influence[.]” Patterson v. Colorado, 205 U.S. 454, 462 (1907). Justice Hugo

Black observed that the American justice system “has always endeavored to prevent

even the probability of unfairness.” Id. Accordingly, Federal Rule of Criminal

Procedure 21(a) instructs that district courts “must transfer the proceeding . . . if the

court is satisfied that so great a prejudice against the defendant exists in the transferring

district that the defendant cannot obtain a fair and impartial trial there.” In some cases,

a potential jury pool can be determined to be irredeemably biased when the alleged

crime results in “effects . . . on [a] community [that] are so profound and pervasive that

no detailed discussion of the [pretrial publicity and juror partiality] evidence is

necessary.” United States v. McVeigh, 918 F. Supp. 1467, 1470 (W.D. Okla. 1996).

Indeed, the court in McVeigh summarily concluded that a trial of the Oklahoma City

bombing suspects in federal court in Oklahoma City would be fundamentally

constitutionally unfair. Id.; see also Murphy v. Fla., 421 U.S. 794, 802 (1975) (“Even

these indicia of impartiality [during voir dire] might be disregarded in a case where the

general atmosphere in the community or courtroom is sufficiently inflammatory.”).

“[W]here there is a reasonable likelihood that prejudicial news prior to trial will prevent

a fair trial, the judge should continue the case until the threat abates, or transfer it to



                                             2
another county not so permeated with publicity.” Sheppard v. Maxwell, 384 U.S. 333,

362-363 (1966).

When the threatened harm is prejudice to a fair trial, a number of alternatives less

restrictive of expression may be available, which include:


               (a) change of trial venue to a place less exposed to . . .
               intense         publicity         .        .       .       ;
               (b) postponement of the trial to allow public attention to
               subside; (c) searching questioning of prospective jurors .
               . . to screen out those with fixed opinions as to guilt or
               innocence; (d) the use of emphatic and clear instructions
               on the sworn duty of each juror to decide the issues only
               on evidence presented in open court(;) (e) sequestration
               of jurors (to) . . . enhance() the likelihood of dissipating
               the impact of pretrial publicity and emphasize() the
               elements of the jurors' oaths.

       In re Halkin, 598 F.2d 176, 195, (D.C. Cir. 1979) (citing Neb. Press Ass'n v.

Stuart, 427 U.S. 539, 563-64 (1976). In Irving v. Dowd, the Supreme Court

presciently observed:


               In the ultimate analysis, only the jury can strip a man of
               his liberty or his life. In the language of Lord Coke, a
               juror must be as “indifferent as he stands unsworne.” His
               verdict must be based upon the evidence developed at the
               trial. This is true, regardless of the heinousness of the
               crime charged, the apparent guilt of the offender or the
               station in life which he occupies.

366 U.S. 717, 722 (1961) (citations omitted).

       Nor are juror declarations of impartiality during voir dire absolute. Where

pervasive

pretrial publicity has “inflamed passions in the host community” and “permeat[es] the

trial setting . . . [such] that a defendant cannot possibly receive an impartial trial,” the

district court must presume local prejudice and transfer the proceeding. United States

v. Quiles-Olivo, 684 F.3d 177, 182 (1st Cir. 2012). Cf. Mu’Min v. Virginia, 500 U.S.



                                             3
415, 429-430 (1991) (“Under the constitutional standard, on the other hand, ‘the

relevant question is not whether the community remembered the case, but whether the

jurors . . . had such fixed opinions that they could not judge impartially the guilt of the

defendant.’” (citing Patton v. Yount, 467 U.S. 1025, 1035 (1984))).

        The basis for the transfer is due to the numerous and inflammatory news media

reports concerning the defendant and the events of January 6, 2021—because of such

reports, there exists in the United States District Court for the District of Columbia,

where the prosecution of this case is pending, such a great prejudice against the

defendant that the defendant cannot obtain a fair and impartial trial at any place fixed

by law for holding court in that district.

        All news sources have given close scrutiny to the defendant's arrest and to all

subsequent events in this case, in an attempt to secure defendant's conviction. Such

coverage vastly exceeds the privileges of the news media arising from the First

Amendment, as is shown by the newspaper articles and radio and television news

broadcasts covering the period since January 6, 2021, daily.

        As a result of the nature and amount of the news media coverage in this

matter, and the number of persons in the District of Columbia regularly reading,

viewing, and hearing the news media in proportion to the area's total population, it

appears that virtually every household in the District of Columbia, and thus virtually

every prospective juror, has been exposed to a constant barrage of inflammatory

accounts, detailing in a manner highly prejudicial to the defendant every occurrence

in this matter that has arisen since the defendant's arrest.




                                             4
Dated: June 13, 2022       Respectfully Submitted,

                            /s/ John M. Pierce
                            John M. Pierce
                            John Pierce Law, P.C.
                            2550 Oxnard Street
                            3rd Floor, PMB# 172
                            Woodlands, Hills, CA 91367
                             jpierce@johnpiercelaw.com
                            (213) 279-7648

                           Attorney for Defendant




                       5
                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, June 14, 2022, I caused a copy of the foregoing

document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce




                                                    6
